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                                          UNITED STATES DISTRICT COURT
                                     CENTRAL DISTRICT OF CALIFORNIA


         UNITED STATES OF AMERICA,                           Case No. 2:08-CR-0427 MCE

                             Plaintiff,

                       vs.

              RAMANATHAN PRAKASH,

                             Defendant.




                                                      ORDER
                       Pursuant to the parties’ stipulation, the sentencing set for July 12, 2012, at
11 a.m. is VACATED, and the matter is set for a hearing on status of counsel and
selection of a new sentencing date on July 19, 2012, at 9:00 a.m. Attorney Alan
Ellis is ordered to forward a copy of this order to James W. Spertus immediately
upon receipt.
                       IT IS SO ORDERED.

Dated: July 5, 2012

                                                    __________________________________
                                                    MORRISON C. ENGLAND, JR
                                                    UNITED STATES DISTRICT JUDGE


DEAC_Signatu re-END:




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